                    Case: 25-1555
                    UNITED  STATES Document:
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                                                               THIRD 04/22/2025
                                                                       CIRCUIT

                                                       No. 25-1555

                         Atlas Data Privacy Corp., et al.      vs. We Inform, LLC, et al.

                                                  ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 Foundation for Individual Rights and Expression; Reporters Committee for Freedom of the Press

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ____ Appellant(s)                ____ Intervenor(s)

         ____ Respondent(s)                 ____ Appellee(s)                  ✔ Amicus Curiae
                                                                             ____

(Type or Print) Counsel’s Name Arleigh P. Helfer
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
